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                              EXHIBIT D
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                                  Interested Parties' Index of Authorities



       •   Dude v. Cong. Plaza, LLC, 17-80522-CIV, 2019 WL 3937974 (S.D. Fla. Aug. 20,
           2019)

       •   Synopsis of Responses to the Country Profile Questionnaire on the Taking of Evidence
           by Video-Link Under The Hague Convention of 18 March 1970 on The Taking of
           Evidence Abroad In Civil Or Commercial Matters (Evidence Convention), July 2018,
           HAGUE CONFERENCE ON PRIVATE INTERNATIONAL LAW.
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                    2019 WL 3937974
       Only the Westlaw citation is currently available.          ORDER DENYING COUNTERCLAIM-PLAINTIFF
         United States District Court, S.D. Florida.               CONGRESS PLAZA'S AMENDED MOTION TO
                                                                  COMPEL DEPOSITION [DE 318] AND GRANTING
     Dietmar DUDE, Plaintiff/Counterclaim-Defendant,             COUNTERCLAIM-DEFENDANT DIETMAR DUDE'S
                             v.                                    MOTION FOR A PROTECTIVE ORDER [DE 320]
            CONGRESS PLAZA, LLC, et al.,
                                                                 WILLIAM MATTHEWMAN, United States Magistrate
           Defendants/Counterclaim-Plaintiffs.
                                                                 Judge
     Congress Plaza, LLC, et al., Third-Party Plaintiffs,
                             v.                                   *1 THIS CAUSE is before the Court upon Counter-
              Congress Management, LLC,                          Claim Plaintiff, Congress Plaza, LLC's (“Congress Plaza”)
              et al., Third-Party Defendants.                    Motion to Compel Deposition [DE 318] and Counter-
                                                                 Claim Defendant, Dietmar Dude's (“Dude”) Motion for a
         Civil No. 17-80522-CIV-Marra/Matthewman                 Protective Order [DE 320]. These matters were referred to
                              |                                  the undersigned by United States District Judge Kenneth
                      Signed 08/20/2019                          A. Marra. See DE 21. No timely responses were filed. The
                                                                 motions are now ripe for review.
 Attorneys and Law Firms

 Aldo Beltrano, Aldo Beltrano PA, Jupiter, FL, Monique           The issue here is whether Dude, the Counterclaim-Defendant
 Roberts, Albany, NY, for Plaintiff/Counterclaim-Defendant.      in this case and a citizen of Germany, should be required to
                                                                 travel to the Southern District of Florida for his deposition
 Aldo Beltrano, Aldo Beltrano PA, Jupiter, FL, for Third-Party   or whether the deposition should have been taken through an
 Defendant Harald Dude.                                          alternative method, such as web conferencing.

 Barry G. Roderman, Barry G. Roderman & Associates, P.A.,
 Fort Lauderdale, FL, for Third-party Defendants Congress
 Management, LLC 1450 Enclave Circle West Palm Beach,                                      I. Motions
 FL 33441, Congress Plaza, LLC, Congress 1010.
                                                                 The Court has carefully reviewed the two opposing motions.
 Harald Dude, West Palm Beach, FL, pro se.                       In its motion to compel, Congress Plaza argues that the
                                                                 logistics of conducting Dude's deposition via an alternative
 Barry G. Roderman, Barry G. Roderman & Associates, P.A.,        method (such as video conferencing) would actually prevent
 Fort Lauderdale, FL, for Defendants/Counterclaim-Plaintiffs/    the deposition altogether. [DE 318, p. 2]. Congress Plaza
 Third-Party Plaintiffs Congress 1010 c/o Barry G. Roderman      asserts that it would have to obtain a court reporter from the
 & Associates PA 633 SE Third Avenue Suite 4R Fort               American Embassy or Consulate to travel to the deposition
 Lauderdale, FL 33301-2296, Congress Plaza, LLC c/o Barry        to administer the oath, would be required to have all of
 G. Roderman & Associates PA 633 SE Third Avenue Suite           the exhibits translated into German and sent to the court
 4R Fort Lauderdale, FL 33301-2296, Congress 1010, Thomas        reporter, and would have to obtain a certified translator in
 R. Farese 126 NE 4th Avenue Delray Beach, FL 33483              German to travel to the deposition site. Id. at pp. 2-3. Congress
 561-452-0022.                                                   Plaza maintains that Dude's deposition is important because
                                                                 Congress Plaza believes that “the underlying debt was never
 David Michael Goldstein, Law Offices of David                   transferred to Dietmar Dude”, and Dude “rendered a letter,
 M. Goldstein PA, North Miami, FL, Barry G.                      that has been made part of the record in this matter, to the
 Roderman, Barry G. Roderman & Associates, P.A., Fort            extent that he knows nothing about the underlying facts, and
 Lauderdale, FL, for Defendants/Counterclaim-Plaintiffs/         was essentially used to prosecute this matter.” Id. at p. 3.
 Third-Party Plaintiffs Congress 1010, LLC, Congress Plaza,      Finally, Congress Plaza seeks additional time to take Dude's
 LLC, David M. Goldstein, P.A., David M. Goldstein, Barry        deposition as the discovery cutoff has passed. Id.
 G. Roderman, Suzanne Farese.




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 Dude, on the other hand, asserts in his motion for protective     his or her deposition near his or her place of residence—
 order that he is 77 years old and resides in Hamburg,             as opposed to the judicial district in which the action is
 Germany. [DE 320, p. 3]. He maintains that “a lengthy
                                                                   being litigated—is typically respected.”  In re Outsidewall
 oversees [sic] flight could jeopardize his health because
                                                                   Tire Litig., 267 F.R.D. 466, 471 (E.D. Va. 2010) “And this
 he has a heart condition.” Id. Dude further argues that
                                                                   presumption applies with no less force when the defendant
 traveling to South Florida for his deposition would be unduly
 burdensome “because the permitted discovery is of a very          is domiciled in another country.”     Id. at 471. Because a
 limited scope.” Id. Dude represents that his deposition was       “foreign defendant may be more inconvenienced by having
 previously scheduled for August 6, 2019, in Boca Raton,           to travel to the United States than a defendant who merely
 Florida, and that he was to be deposed using electronic           resides in another state or in another judicial district, the
 means so that he did not need to travel to Florida. Id. at        presumption that the deposition should occur at a foreign
 2. However, Congress Plaza later changed its mind and             defendant's place of residence may be even stronger.” Id.
 decided that it would not depose Dude “electronically due
 to logistical challenges.” Id. Dude requests that this Court      In Siegel v. Sw. Airlines, Co., No. 12-61845-CIV, 2013 WL
 deny Congress Plaza's request for an enlargement of time to       11971264, at *1 (S.D. Fla. Sept. 12, 2013), a relatively recent
 conduct discovery. Id. at p. 7.                                   case from this District, the Court noted that there is a “strong
                                                                   presumption that a deponent who did not choose the forum be
                                                                   deposed in the vicinity where he resides or works.” The court
                                                                   then found that the plaintiff has not provided a sufficient basis
                    II. Relevant Case Law
                                                                   to overcome this presumption.       Id. at *2. Finally, the court
 “While the party noticing a deposition usually has the right      noted that the parties could agree to conduct the deposition
 to choose the location, there is a rebuttable presumption that,   either telephonically or via video conference. Id.
 absent special circumstances, the deposition of a defendant
 will be held where the defendant resides.” Cavalieri v. Avior     Federal Rule of Civil Procedure 26(c) provides that a court
 Airlines C.A., No. 17-CV-22010, 2018 WL 4193690, at *1            “for good cause shown ... may make any order which
 (S.D. Fla. Apr. 25, 2018) (citing    Securities and Exchange      justice requires to protect a party or person from annoyance,
 Commission v. Aly, 320 F.R.D. 116 (S.D.N.Y. 2017)).               embarrassment, oppression, or undue burden or expense....”
 “However, where parties cannot agree on the location of a         Fed. R. Civ. P. 26. “While Rule 26(c) articulates a single
 deposition, ‘courts retain substantial discretion to determine    standard for ruling on a protective order motion, that of ‘good
 the site of a deposition.’ ” Id. “Factors guiding the Court's     cause,’ the federal courts have superimposed a somewhat
 discretion include cost, convenience, and litigation efficiency   more demanding balancing of interests approach under the
 of the designated location.” Id.                                  Rule.” Farnsworth v. Center for Disease Control, 758 F.2d
                                                                   1545, 1547 (11th Cir. 1985) (citations omitted). In evaluating
  *2 “[M]odern discovery practice requires a plaintiff to          whether a party has satisfied the burden of “good cause,”
 conduct a deposition of a defendant, if possible, at the          “a court should balance the non-moving party's interest
                                                                   in obtaining discovery and preparing for trial against the
 defendant's place of residence or business.” Partecipazioni       moving party's proffer of harm that would result from the
 Bulgari, S.p.A. v. Meige, No. 86-2516-CIV-Ryskamp, 1988           [discovery].” Barrata v. Homeland Housewares, LLC, 242
 WL 113346, at *1 (S.D. Fla. May 23, 1988); see also Siegel        F.R.D. 641, 642 (S.D. Fla. 2007) (citing Farnsworth, 758 F.2d
 v. Sw. Airlines, Co., No. 12-61845-CIV, 2013 WL 11971264,         at 1547). “Generally, a party moving for a protective order
 at *1 (S.D. Fla. Sept. 12, 2013). “Because the Plaintiff has      must make a specific demonstration of facts in support of
 greater influence over the choice of forum, courts are more       the request, as well as of the harm that will result without a
 willing to protect defendants from having to come to the          protective order.” Fargeon v. Am. Nat'l Prop. & Cas. Co., No.
 forum for the taking of his or her deposition than they are in    08-60037-CIV, 2008 WL 11332027, at *4 (S.D. Fla. July 8,
 the case of plaintiffs.’ ” DeepGulf, Inc. v. Moszkowski, 330
                                                                   2008) (citing    Dunford v. Rolly Marine Service, Co., 233
 F.R.D. 600, 607 (N.D. Fla. 2019) (quoting      O'Sullivan v.      F.R.D. 635, 636 (S.D. Fla. 2005)).
 Rivera, 229 F.R.D. 187, 189 (D. N.M. 2004)). “[B]ecause
 a non-resident defendant ordinarily has no say in selecting
 a forum, an individual defendant's preference for a situs for


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                                                                     Dude is now a defendant, not a plaintiff. This case is
                                                                     somewhat unusual because Dude did initially choose to
                          III. Analysis
                                                                     litigate in this forum when he filed the action. However, now
    A. The Procedural Posture of Discovery in This Case              that his claims have been dismissed, he is solely a defendant.
    Weighs Against Compelling the In-Person Deposition               Moreover, the Counter-Claim Plaintiffs affirmatively elected
    of Dietmar Dude                                                  to maintain their counterclaim [DE 258] and decided to file
 The procedural posture of this case is quite unique. On             an Amended Counterclaim [DE 271] after Dude's case was
 March 18, 2019, the Honorable Kenneth A. Marra, United              dismissed. There is no case law specific to these factual
 States District Judge, entered an Order Permitting Limited          circumstances where a party who was once a plaintiff, but
 Discovery [DE 302]. That Order delineated four specific             is now solely a defendant, claims he is unable to come to
 topics for the limited discovery: (1) whether or not Dude had       this jurisdiction for his deposition. Thus, the Court must
 a duty to disclose his assignment to the Court in this case;        exercise its discretion based on all relevant factors, including
 (2) if Dude had a duty to disclose the assignment, whether          cost, convenience, and litigation efficiency, and balance the
 the secrecy of the assignment by Dude manifests fraud on            interests under Rule 26(c).
 the Court; (3) why the assignment was not disclosed to the
 Court; and (4) whether the assignment was a sham. Id. at
                                                                        C. The Balancing of Factors and Determination of
 p. 4. On June 5, 2019, Judge Marra granted Congress Plaza
                                                                        Good Cause
 and Congress 1010's Motion for Enlargement of Time to
                                                                     Upon careful review of the relevant case law and the motions
 Complete Discovery and gave them an additional 60 days
                                                                     at issue, and balancing all relevant factors and equities, the
 to complete the limited discovery the Court had previously
                                                                     Court finds that Counter-Claim Defendant Dietmar Dude
 allowed. See DE 309. Thus, the time for the limited discovery
                                                                     has shown good cause for a protective order. He resides in
 ended on August 5, 2019. Therefore, in a case in which limited
                                                                     Germany. He is not seeking to bar his deposition completely
 additional discovery was permitted in March 2019, Congress
                                                                     and was willing to appear for a previously scheduled
 Plaza waited until the very last minute to conduct depositions.
                                                                     deposition by remote means. Given that Dude is currently
 This constitutes dilatory behavior on the part of Congress
                                                                     a defendant (and not a plaintiff) in this case, given that he
 Plaza, which conduct factors into the Court's decision in this
                                                                     resides in Germany, given the costs of travel from Germany
 case.
                                                                     to Florida and Dude's claimed health problems, and given that
                                                                     the scope of discovery is currently very limited, it would be
  *3 Additionally, according to the motion for protective
                                                                     unduly burdensome to require Dude to travel to the Southern
 order, Congress Plaza deposed Harald Dude and Aldo
                                                                     District of Florida for his deposition in a case where he is
 Beltrano in early August 2019. [DE 320, p. 2]. It seems to
                                                                     solely a defendant.
 the Court, based on the lengthy history of this case and the
 filings on the docket, that Harald Dude and Aldo Beltrano are
                                                                     The Court further notes that Congress Plaza's rationale
 the best sources for the discovery permitted by Judge Marra's
                                                                     underlying its motion to compel is flawed. The costs and
 March 18, 2019 Order.
                                                                     burden involved in obtaining a particular type of court
                                                                     reporter, having exhibits translated, and obtaining a translator
    B. The Court's Prior Rulings Vis-à-vis the Pending               are substantially less than requiring a 77-year-old defendant
    Motion                                                           who is a citizen of Germany to travel to Florida for a
 The Court notes that, in the past, when Dude was the Plaintiff      short, limited deposition. Counsel for Congress Plaza also
 in this case, and pursuant to the case law about the depositions    could have traveled to Germany but opted not to. Moreover,
 of plaintiffs, the Court required Dude to appear in this District   Congress Plaza will need to have documents translated and
 for his deposition and penalized him when he refused to travel      obtain a translator and court reporter whether the deposition
 to this District. See DEs 158, 210, 241, 242, 259. In fact, when    occurs in this District or in Germany.
 Dude was the plaintiff in this case, his claims were dismissed
 by the Court due to his failure to appear in this District for
                                                                       D. Congress Plaza's Request for an Extension of the
 a deposition. [DE 259]. However, the law for defendants is
                                                                       Discovery Period Contained Within Its Motion to
 different than for plaintiffs, as specified above.
                                                                       Compel Deposition




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  *4 Finally, the Court notes that Congress Plaza has inserted a         1. Counter-Claim Plaintiff, Congress Plaza, LLC's Motion
 request to extend the now-passed discovery cutoff date within              to Compel Deposition [DE 318] is DENIED.
 its motion to compel. [DE 318, pp. 3-4]. The undersigned
 has considered Congress Plaza's request for an extension of             2. Congress Plaza's request for an additional extension of
 the cutoff for limited discovery and finds that it is due to               the discovery period is DENIED. This denial is without
 be denied. Congress Plaza had Dude's deposition scheduled                  prejudice to Congress Plaza's ability to present such
 for early August and decided unilaterally to cancel it and                 request to the Honorable Kenneth A. Marra, United
 file a motion to compel rather than conduct the scheduled                  States District Judge, for his consideration. In this
 deposition by electronic means. The Court finds that Congress              regard, the undersigned notes that Judge Marra has
 Plaza should have proceeded with the scheduled deposition                  scheduled a hearing in this case on August 28, 2019, at
 of Dude and, if it was unsatisfactory, should have filed an                1:30 p.m., where counsel for all parties must appear in
 appropriate and timely motion. However, Congress Plaza                     person at said hearing.
 instead chose to unilaterally cancel Dude's deposition. Under
 these facts, an extension of the discovery cutoff seems                 3. Counter-Claim Defendant, Dietmar Dude's Motion for
 inappropriate. Congress Plaza has failed to establish good                 a Protective Order [DE 320] is GRANTED. Dietmar
 cause for its required extension of the discovery cutoff.                  Dude is not required to travel to the Southern District
 Moreover, Congress Plaza had failed to file a separate motion              of Florida to sit for a deposition in his capacity as a
 on its requested extension and instead improperly buried its               Counter-Claim Defendant in this case.
 request within its motion to compel.
                                                                       DONE and ORDERED in Chambers at West Palm Beach,
                                                                       Palm Beach County, Florida, this 20 th day of August, 2019.
                        IV. Conclusion
                                                                       All Citations
 Based on the foregoing, it is hereby ORDERED as follows:
                                                                       Not Reported in Fed. Supp., 2019 WL 3937974

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EVIDENCE      / PREUVES

July / juillet 2018

(E/F)




                  SYNOPSIS OF RESPONSES TO THE COUNTRY PROFILE QUESTIONNAIRE
                        ON THE TAKING OF EVIDENCE BY VIDEO-LINK UNDER THE
               HAGUE CONVENTION OF 18 MARCH 1970 ON THE TAKING OF EVIDENCE ABROAD
                                 IN CIVIL OR COMMERCIAL MATTERS
                                     (EVIDENCE CONVENTION)


                                                          drawn up by the Permanent Bureau



                                                                                  ***




                    APERÇU DES RÉPONSES AU QUESTIONNAIRE SUR LE PROFIL D’ÉTAT
                   POUR L’OBTENTION DE PREUVES PAR LIAISON VIDÉO EN VERTU DE LA
                 CONVENTION DE LA HAYE DU 18 MARS 1970 SUR L’OBTENTION DES PREUVES
                           À L’ÉTRANGER EN MATIÉRE CVILE OU COMMERCIALE
                                       (CONVENTION PREUVES)


                                                             établi par le Bureau Permanent




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                                                                 Legal Basis

    a) Does your State, in the application of Article 27 (i.e. internal law or practice), allow for a foreign Court to directly
       take evidence by video-link?

                        Yes. Please specify:                                                        [16]
 China (Honk Kong SAR): Section 76(2) (a) of the Evidence              China (Hong Kong SAR), Cyprus, Czech Republic, Estonia, Finland,
 Ordinance (Cap.8) provides for the examination of witnesses by            France, Israel, Latvia, Malta, Portugal, Romania, Singapore,
 any means, including by way of a live television link.                 Slovenia, Sweden, United States of America and United Kingdom
                                                                                               (England and Wales)
 Czech Republic: If the judicial authority of the requesting State
 requests the use of video-links, the Czech Central Authority will
 request the Czech judicial authority to consider such a request.
 Estonia: Under certain circumstances. § 15 (4) of Code of Civil
 Procedure: "Unless otherwise provided by law or an international
 agreement, an Estonian court provides procedural assistance in
 performance of a procedural act at the request of a foreign court
 if, pursuant to Estonian law, the requested procedural act
 belongs to the jurisdiction of the Estonian court and is not
 prohibited by law. A procedural act may also be performed or a
 document may be issued pursuant to the law of a foreign state if
 this is necessary for the conducting of proceedings in the foreign
 state and the interests of the participants in the proceeding are
 not damaged thereby". The law can be found in English:
 https://www.riigiteataja.ee/en/eli/510012017004/consolide.
 Israel: In addition to directly taking evidence, Israel allows the
 foreign country to send a representative that can take the
 evidence.
 France: Cette possibilité est déjà offerte aux tribunaux d'autres
 Etats membre de l'Union européenne en application de l'article
 17 du règlement CE n°1206/2001 sur l'obtention des preuves en
 matière civile et commerciale. Par ailleurs, le décret n° 2017-892
 du 6 mai 2017 récemment adopté portant diverses mesures de
 modernisation et de simplification de la procédure civile permet
 désormais, pour les demandes transmises en application du
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 chapitre I de la Convention, et uniquement en ce qu'elles
 sollicitent l'audition de témoins, à l'autorité judiciaire requérante
 de solliciter auprès de l'autorité centrale française l'autorisation
 d'y procéder directement, notamment par voie de
 vidéoconférence.
 Romania: The law applicable in this case is Law No. 189/2003
 regarding the international legal assistance in civil and
 commercial matters, namely art. 25, paragraphs 1 and 3 and art.
 35, paragraph 3.
 The requested Romanian judicial authority requested may
 consider, upon request submitted by the requesting judicial
 authority, to use a special procedure, provided that such
 procedure does not contravene the Romanian law. The Romanian
 court will inform the requesting judicial authority on the date and
 venue where the letter rogatory is to be made and it may allow,
 upon request, participation thereto of foreign magistrates. Based
 on art. 3, paragraph 3 of the Council’s Regulations (CE) No.
 1206/2001 of May 28th, 2001, the Ministry of Justice is the
 authority that has to make a decision as regards the requests
 submitted based on art. 17 of the aforementioned regulations.
 The videoconference should take place in the presence of the
 Judge from the Court within whose territorial range of
 competence the evidence is to be taken, assisted, as the case
 may be, by an interpreter. The said judge must verify the
 identity of the person heard and has the obligation to see that
 the fundamental principles of the Romanian law are duly
 observed.
 Slovenia: Article 114a of the Civil Procedure Code (hereinafter
 CPC)
 Sweden: Under certain circumstances in accordance with national
 law and international agreements. However, not within the
 application of the 1970 Convention.
 United States of America: It is permissible for a voluntary
 witness located in the United States to directly provide evidence
 by video-link to a foreign court. See 28 U.S.C. § 1782(b).
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 Although U.S. procedure allows an interested party to file a 28
 U.S.C. § 1782(a) motion to request that a U.S. district court
 issue an order to compel a witness to provide evidence in aid of a
 foreign proceeding, it is unlikely a U.S. court will compel a
 witness to directly provide evidence by video-link to a foreign
 court. Neither of these options involve the United States Central
 Authority.
 United Kingdom: Evidence (Proceedings in Other Jurisdictions)
 Act 1975; Civil Procedure Rule 32.3.

                         No. Please specify:                                                        [15]
 China (Macao SAR): Under the Macao SAR law, only indirect             Belarus, Brazil, China (Macao SAR), Croatia, Germany, Greece,
 taking of evidence is allowed. Therefore, only lawyers and            Hungary, Korea (Republic of), Latvia, Lithuania, Mexico, Poland,
 magistrates of the Macao SAR can raise questions against                         South Africa, Switzerland and Venezuela
 witnesses (Article 539 of the Macao Civil Procedure Code (CPC),
 Law No. 10/1999 and Decree-law No. 42/95/M).
 Croatia: If it is not agreed otherwise by an international
 agreement, courts shall proceed on requests for legal assistance
 from foreign courts only if they are delivered through diplomatic
 channels and if the request and enclosures are written in one of
 the languages in official use in the court or if an authorized
 translation in that language is enclosed (Article 183.of the Civile
 Procedure Act ("Official Gazzete" 53/91, 91/92, 58/93, 112/99,
 88/01, 117/03, 88/05, 02/07, 84/08, 123/08, 57/11, 148/11,
 25/13 and 89/14; further in the text: CPA).
 Germany: Germany does not allow foreign courts to directly take
 evidence in Germany, even by video-link.
 Greece: All procedures must pass through the control of the
 relevant court.
 Hungary: Direct taking of evidence is only allowed on the basis of
 EU law or international agreement.
 Latvia: Not Applicable Art.27.
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 Lithuania: Lithuania has not made a declaration in favour of
 application of Article 27. There is not that much practice on
 direct taking of evidence by video-link under the Convention, but
 in accordance with analogues EU instruments on taking of
 evidence in civil cases, foreign courts' request for direct taking of
 evidence shall be accepted by the Ministry of Justice, which
 usually does so by setting the following condition, i.e. Ministry
 usually assigns the competent national court to take part in the
 performance of the direct taking of evidence by
 telephone/videoconference in a relevant case.
 South Africa: Process must be through the Central Authority.
 Switzerland: Soumis à autorisation.
 Venezuela: Our State only allows indirect intervention of
 evidence.

 Comments
 Australia: This depends on each Australian State and Territory:
•   NSW: Under NSW law, a foreign court is not entitled to directly take evidence from a witness located in NSW by video-link.
    However, NSW law does not prevent a witness, who is located in NSW, from voluntarily giving evidence from NSW by video-link in
    proceedings in a foreign court. Such request is ordinarily arranged privately between the parties outside of the Convention, and
    NSW courts have no role to play in the giving of such evidence (except on a case by case basis, lending the use of its AVL IT
    facilities, if requested to do so by a foreign court, in the interests of judicial comity). That is, in the above circumstances, the law of
    NSW does not govern the giving of that evidence.
•   WA: Yes. For the purposes of proceedings not relating to the commission of an offence or an alleged offence, a person nominated by
    a requesting court or tribunal or, if no such person is nominated, the Attorney General, may make an application to the Supreme - -
    - Court of Western Australia under section 116 of the Evidence Act 1906 (WA) (Act) for an order for evidence to be obtained in
    Western Australia. The application must be made pursuant to a request issued by or on behalf of a foreign court or tribunal, and the
    evidence to which the application relates must be obtained for the purpose of proceedings either instituted before the requesting
    court or whose institution is contemplated.
    - Upon such an application, the Court then has the power make an order to obtain evidence in Western Australia as may appear to
    the Court to be appropriate for the purpose of giving effect to the request in pursuance of which the application was made:
    subsection 117(1) of the Act (See sections 115-118A of the Act and Order 39 of the Rules of the Supreme Court 1971 (WA) (Rules).
    - Further, a court or tribunal of a participating jurisdiction that is authorised by legislation of that jurisdiction to direct that evidence
    be taken by video-link may, for the purposes of a proceeding in or before it, take evidence from a person in Western Australia under
    section 123 of the Act. However, unless the jurisdiction is prescribed to be a participating jurisdiction, this is confined to the courts
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    or tribunals of the States or Territories comprising the Commonwealth of Australia. At the time of writing, there were no
    jurisdictions prescribed for this purpose (See sections 120-130 of the Act.).
•   QLD: There is no legislative basis for a Foreign Court to take evidence in Queensland. The evidence must be taken by Queensland
    Courts in legal proceedings in Queensland commenced for the purposes of giving effect to any foreign evidence request.
•   SA: Section 59F of the Evidence Act 1929 (SA) permits taking of foreign evidence. SA was not aware of any agreements with other
    Contracting States that would impede taking evidence by video-link.
•   VIC: Taking of video-link evidence is subject to a Court order. Where video-link has been expressly requested, a judge will need to
    make an order for evidence to be taken via video-link. The party requesting the video-link on behalf of the Requesting
    State/Authority Court would, through the Requested State, be responsible for organising a video-link if required. A judge will need
    to approve the video-link and Court Registry will require an order from a judge to proceed with any video-link.
 Bulgaria: There is not explicit rule in the national legislation arranging the possibility for a foreign Court to directly take evidence by
 video-link.
 Croatia: As a matter of fact, a requesting foreign Court must, as a rule, address a request to the requested court in which it will
 propose which person to examine and to which circumstances.
 Mexico: Mexico has a federal system of 32 states, which don’t allow a foreign court to take evidence (statements) directly through the
 use of electronic media, nonetheless the Federal Civil Procedure Code does consider the use of videoconferences to take evidence, as
 well as Mexico´s city and the State of Mexico.
 Slovenia: Article 114a of the CPC stipulates that the court may allow videoconference if the parties agree.
 Switzerland: Dans le cadre de la CLaH70, deux cas de figure peuvent être envisagés pour la participation du juge étranger. 1) En
 théorie, on peut imaginer une participation des autorités étrangères à une audition des parties et/ou de tiers effectuée par un juge
 suisse (art. 8 CLaH70 ; soumise à autorisation). Cette possibilité n'est cependant pas envisageable en pratique. 2) L'autorisation d'une
 vidéoconférence dans le cadre du Chapitre II de la ClaH70 avec la participation du juge étranger est soumise aux mêmes conditions
 que les cas classiques d'autorisation. En dehors du cadre de la CLaH70, l'audition par vidéoconférence n'est pas possible, sauf cas très
 exceptionnels. Voir Lignes directrices de l'OFJ.
 https://www.rhf.admin.ch/dam/data/rhf/zivilrecht/wegleitungen/wegleitungzivilsachen-f.pdf
 Venezuela: In Venezuelan legislation there are no express prohibitions for foreign courts to obtain evidence by videoconference. In our
 judicial system, operates the principle of freedom of evidence, unless they are expressly prohibited. In the case of the presentation of
 evidence through videoconferences, both jurisprudence and doctrine, have pointed out its legality.
 Article 857 of the Venezuelan Code of Civil Procedure establishes that the examination of witnesses, examinations, oaths,
 interrogations, summonses, notifications, and other acts of mere instruction to be carried out in the country shall be processed by the
 national courts, without are required by Letters Rogatory or diplomatic channel. The latter case is covered by Article 27 of the
 Convention.
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                                      Plaintiff’s Index of Authorities


 1. United States State Department Publication on Venezuela Judicial Assistance Information

 2. County Profile for Venezuela – Taking Evidence by Video Link under the Hague Convention

 3. Hague Convention

 4. Status Table for Hague Convention

 5. Pending Motion to Strike Fugitive Raul Gorrin's Denials Relating to the Criminal Charges Pending
    Against Him and to Bar Raul Gorrin from Denying Such Allegations in this Civil Matter While he is a
    Fugitive (ECF No. 222) (raising the fugitive disentitlement doctrine).

 6. United States v. $343,726.60 in United States Currency, 27 l Fed. Appx. 972, 973 (11th Cir. 2008)
    (affirming dismissal of fugitive's claim to property pursuant to fugitive disentitlement doctrine and
    because the fugitive failed to appear for deposition in the United States as ordered by the Court).

 7. United States v. Kokko, No. 06-CR-20065-Lenard, 2007 U.S. Dist. LEXIS 54885 at* 18 (S.D. Fla. July
    30, 2007) (denying request of claimant that deposition be taken outside of the United States and noting
    government's objection to foreign location on grounds that included obtaining permission of the foreign
    government to take the deposition in that country).

 8. United States v. One Parcel of'Real Estate, 121 F.R.D. 439, 440-41 (S.D. Fla. 1988)(requiring directors
    of claimant corporations to appear for deposition in Miami).

 9. Doe v. Successfulmatch.com, No. 13-cv-03376 LHK, 2014 U.S. Dist. LEXIS 156663 at* 6 (N.D. Ca.
    2014) (declining to order video deposition of deponent in foreign country because of the "sovereignty
    and comity issues that are implicated when a court orders that a deposition proceed overseas).

10. United States v. $160,066.98.from Bank of A.m., 202 F.R.D 624,627 (S.D. Ca. 2001) (with regard to
    the forfeiture of assets placed by the fugitive in the jurisdiction, denying fugitive's motion for protective
    order requesting that depositions noticed for the United States be taken in person or remotely while he
    remained in Pakistan).

11. In re Vitamin Antitrust Litig., Misc. No. 99-197, 2001 U.S. Dist. LEXIS 25070 at *53 (D.D.C 2001)
    (analyzing compliance with foreign law regarding overseas depositions and noting "I find no
    inconsistency between arguing on the one hand that the Federal rules should apply because the Hague
    Convention could not ensure adequate and efficient discovery, and arguing on the other hand that
    depositions within a foreign nation's borders must comply with the local laws notwithstanding any
    federal court order providing that discovery proceed under the Federal Rules.").
Venezuela Judicial Assistance Information            https://travel.state.gov/content/travel/en/legal/Judicial-Assistance-Count...
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           Venezuela
           Bolivarian Republic of Venezuela



               Hague/Inter-American


               Party to Hague Service         Party to Inter-American
               Convention?                    Convention?
               Yes                            Yes
               Party to Hague Evidence        Service of Process by Mail?
               Convention?                    No
               Yes
               Party to Hague Apostille
               Convention?
               Yes




              DISCLAIMER
              DISCLAIMER: THE INFORMATION IS PROVIDED FOR GENERAL
              INFORMATION ONLY AND MAY NOT BE TOTALLY ACCURATE IN A
              SPECIFIC CASE. QUESTIONS INVOLVING INTERPRETATION OF
              SPECIFIC FOREIGN LAWS SHOULD BE ADDRESSED TO THE
              APPROPRIATE FOREIGN AUTHORITIES OR FOREIGN COUNSEL.




                                                                           ALL /




               Embassies and Consulates                                       



               List of Attorneys                                              



               Service of Process                                             




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Venezuela Judicial Assistance Information                                                    https://travel.state.gov/content/travel/en/legal/Judicial-Assistance-Count...
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               Criminal Matters                                                                                



               Obtaining Evidence in Civil and Commercial Matters                                              


              I s V e n e z u e l a a p a r t y t o t h e H a g u e C o n v e n t i o n o n t h e Ta k i n g o f
              E v i d e n c e A b r o a d i n C i v i l a n d C o m m e r c i a l M a t t e r s ?

              Yes.

              The Venezuelan Central Authority for the Hague Evidence Convention 
              designated to receive letters of request for the taking of evidence is the
              Ministry of Popular Power for Foreign Affairs.

              How should letters of reques t be completed? Do they requ ire
              t ra n s m i t t a l v i a d i p l o m a t i c c h a n n e l s ?

              See the Hague Evidence Convention Model Letters of Request  for
              guidance on preparation of the letter of request. Letters of Request and
              accompanying documents should be prepared in duplicate and translated
              into Spanish. Such requests must be transmitted by the requesting court
              or person in the United States to the Venezuelan Central Authority and do
              not require transmittal via diplomatic channels.

              Fur ther information:

              See Venezuela’s Declarations and Reservations regarding the Hague
              Evidence Convention .

              R e q u e s t s f r o m Ve n e z u e l a t o O b t a i n E v i d e n c e i n t h e U n i t e d
              States:

              The U.S. Central Authority for the Hague Evidence Convention  is the
              Ofﬁce of International Judicial Assistance, Civil Division, Department of
              Justice, 1100 L Street N.W., Room 8102, Washington, D.C. 20530



               Taking Voluntary Depositions of Willing Witnesses                                               


              Are foreign attorneys permitte d to take depositions of willin g
              witnesses without the involvement of the host government or
              cour ts?

              Venezuela objected  to the provisions of Chapter II of the Hague
              Evidence Convention  regarding the taking of voluntary depositions of
              willing witnesses by commissioners, including private attorneys and


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            willing witnesses by commissioners, including private
                                                                93attorneys and
            consular ofﬁcers. Consequently, depositions of willing witnesses in
            Venezuela must be undertaken pursuant to a request to the Venezuelan
            Central Authority  and in the context of the Venezuelan court system.

              May consular ofﬁcers conduct depositions of willing witnesses?

              Depositions of willing witnesses, regardless of nationality, by U.S.
              consular ofﬁcers in Venezuela are not permitted.

              May local attorneys directly petition a cour t to conduct the
              deposition of an unwilling witness or must this be requested via
              letters rogator y?

              Private attorneys from the United States attempting to conduct voluntary
              depositions of willing witnesses in Venezuela are subject to the penalties
              of local Venezuelan law.



               Authentication of Documents                                              

           Last Updated: November 15, 2013




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                                        COUNTRY PROFILE
             TAKING OF EVIDENCE BY VIDEO-LINK UNDER THE
         HAGUE CONVENTION OF 18 MARCH 1970 ON THE TAKING OF
           EVIDENCE ABROAD IN CIVIL OR COMMERCIAL MATTERS



   STATE NAME: Bolivarian Republic of Venezuela

   PROFILE UPDATED ON (DATE): May 2017

   PART I: STATE

      1. Contact details
   The contact details provided in this section will be published on the Hague Conference website

   CHAPTER I (LETTERS OF REQUEST)

   As with any other Letter of Request under Chapter I of the Evidence Convention, the requesting
   authority should contact the Central Authority(ies)of the requested State when seeking to obtain
   evidence by means of a Letter of Request, whether using video-link or not.

   a) Are the contact details of the Central                 Yes.
      Authority(ies) designated by YOUR STATE up-            No. Please provide the contact details
      to-date on the Evidence Section of the Hague           on a separate Word or PDF document
      Conference website?                                    for uploading on the Evidence Section
                                                             of the Hague Conference website.
   b) Would YOUR STATE be in favour of specifying a          Yes.
      person or department within the Central                If YOUR STATE has already done so,
      Authority(ies) who would assist in                     please specify the contact details:
      processing Letters of Request where the use            Special Issues Area / Office of
      of video-links has expressly been requested            Consular Relations / Ministry for
      (e.g.,to arrange the video-link or provide             Foreign Relations
      technical assistance)?

                                                             No.
                                                              Please explain why:


                                                       Comments:


   c) What arrangements are there for ensuring         The office has on-call staff, in charge of the
      that there is a contact person with whom the     information technology area, who is
      requesting authority can liaise and who is       dedicated to the operation of video-link.
      available on the day of the hearing to operate
      the video-link facilities (e.g. is there a
      booking system)?




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   CHAPTER II (TAKING OF EVIDENCE BY DIPLOMATIC OFFICERS, CONSULAR
   AGENTS AND COMMISSIONERS)

   Permission by a designated authority may be required to apply certain provisions under
   Chapter II. To know if sucha permission is required for a particular State, see the practical
   information chart (accessible from the Authorities page) AND / OR the declarations (accessible
   from the Status Table page) of the relevant State available on the Evidence Section of the Hague
   Conference website.
   If permission is not required, applicants should contact the diplomatic and consular mission
   (Arts 15/16) or the commissioner (Art. 17) to explore whether or not evidence may be obtained
   by video-link under this Chapter.
   If permission is required, applicants should contact the authority that was designated to grant
   permission AND the relevant diplomatic and consular mission or commissioner,to explore, where
   necessary, whether or not evidence may be obtained by video-link under this Chapter.

   d) Would YOUR STATE be in favour of specifying             Yes.
      an entity or authority, in addition to the              If YOUR STATE has already done so,
      relevant authority / diplomatic or                      please specify the contact details:
      consular agent / commissioner, that
      would assist in processing applications where
                                                              No.
      the use of video-links has expressly been
      requested (e.g., to arrange the video-link or           Please explain why:Our State
      provide technical assistance)?                          considers that it is not necessary.


                                                        Comments:


   e) What arrangements are there for ensuring          The office has on-call staff, in charge of the
      that there is a contact person with whom the      information technology area, who is
      Court of Origin can liaise and who is available   dedicated to the operation of video-link.
      on the day of the hearing to operate the
      video-link facilities (e.g. is there a booking
      system)?




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   PART II: RELEVANT LEGISLATION AND COURT SYSTEM

   Legal basis
   a) Does YOUR STATE, in the application of                    Yes.
      Article 27 (i.e. internal law or practice), allow         Please specify:
      for a foreign Court to directly take evidence             No.
      by video-link?
                                                                Please specify: Our State only allows
                                                                indirect intervention of evidence


                                                            Comments:
                                                            In Venezuelan legislation there are no express
                                                                  prohibitions for foreign courts to obtain
                                                                  evidence by videoconference. In our
                                                                  judicial system, operates the principle of
                                                                  freedom of evidence, unless they are
                                                                  expressly prohibited. In the case of the
                                                                  presentation of evidence through
                                                                  videoconferences, both jurisprudence and
                                                                  doctrine, have pointed out its legality.
                                                            Article 857 of the Venezuelan Code of Civil
                                                                   Procedure establishes that the
                                                                   examination of witnesses, examinations,
                                                                   oaths, interrogations, summonses,
                                                                   notifications, and other acts of mere
                                                                   instruction to be carried out in the
                                                                   country shall be processed by the
                                                                   national courts, without are required by
                                                                   Letters Rogatory or diplomatic channel.
                                                                   The latter case is covered by Article 27 of
                                                                   the Convention.
                                                            In addition, article 38 of the Venezuelan Act on
                                                                  Private International Law (1998)
                                                                  recognizes the effectiveness of evidence
                                                                  obtained according to the procedural
                                                                  process of the right of the Court or
                                                                  official to which it is carried out.
   b) Please indicate the legal basis or applicable         In Venezuela, although there is no special law
      protocols (i.e., relevant laws, regulations,                for the use of videoconferencing, there
      practice, etc.) for the use of video-links in the           are several instruments that promote the
      taking of evidence in YOUR STATE, either under              use of information and communication
      the Convention or independent of the                        technologies in the judicial sphere: the
      Convention (see, e.g. Art. 27 (b) and (c)):                 National Constitution; the Code of Civil
                                                                  Procedure, the Act of Info-Government;
      Please also attach a copy of, or provide a link to,         the Act of data messages and electronic
      the relevant provisions, where possible in English          signature; the Organic Act Labor
      or French.                                                  Procedure; the Act on Protection of
                                                                  Victims, Witnesses and other procedural
                                                                  subjects; the Organic Act for the
                                                                  Protection of Children and Adolescents;
                                                                  the Organic Act of the Supreme Court of
                                                                  Justice; the judgments of the
                                                                  Constitutional Chamber of the Supreme
                                                                  Court of Justice (No. 721 07 / 9th / 2010
                                                                  and No. 01 / 27th / 2011)
                                                            Additionally, the implementation of
                                                                   videoconference by the Executive


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                                                             Direction of the Magistracy and the
                                                             Judiciary, is regulated through the
                                                             "Normative Instrument for the
                                                             videoconference service of the Executive
                                                             Direction of the Magistracy and the
                                                             Judiciary", and Resolution No. 2016-001
                                                             of the Criminal Cassation Chamber of the
                                                             Supreme Court of Justice (Judicial
                                                             Gazette No. 64, 12 / 12th / 2016)
   c) Does YOUR STATEhave any agreements with              Yes.
      other Contracting States that derogate from          Please attach a copy of, or provide a link
      the Convention when taking evidence by               to, the relevant provisions, where possible
      video-link (see Art. 28 and Art. 32)?                in English or French:
                                                           No.


                                                      Comments:
                                                      Venezuela has signed regional agreements
                                                           regulating the matter of obtaining
                                                           evidence abroad, without specifying that
                                                           the route be the videoconference, such
                                                           as the Law Approving the Inter-American
                                                           Convention on Letters Rogatory (Official
                                                           Gazette No. 33033, 08/03/1984); The
                                                           Law Approving the Inter-American
                                                           Convention on the Taking of Evidence
                                                           Abroad (Official Gazette No. 33170, 02 /
                                                           3rd / 1985); The Law Approving the
                                                           Additional Protocol to the Inter-American
                                                           Convention on Letters Rogatory (Official
                                                           Gazette No. 33171, 02 / 25th / 1985);
                                                           The Law Approving the Additional
                                                           Protocol to the Inter-American
                                                           Convention on the Taking of Evidence
                                                           Abroad (Official Gazette No. 4580, 05 /
                                                           21st / 1993); The Approval Law of the
                                                           Code of Private International Law or
                                                           Bustamante Code (Official Gazette of 04
                                                           / 9th / 1932)

   Court system
   d) Please indicate which courtspermit, or have          All courts.
      the facilities for, the taking of evidence by        All courts of a specific type / level.
      video-link. If possible, indicate where              Please specify:
      relevant information on videoconferencing
                                                           Only specific courts.
      facilities in courts can be found online:
                                                           Please specify which courts, or provide a
                                                           link to/attach a full list:
                                                           None.


                                                      Comments:
                                                      Until now, only these courts have facilities and
                                                            practice: Judicial Circuits of the Courts of
                                                            Protection of Children and Adolescents of
                                                            the Judicial District of the Metropolitan
                                                            Area of Caracas; and the State of Zulia.




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   PART III: TECHNICAL AND SECURITY ASPECTS (APPLICABLE TO BOTH CHAPTERS)

   a) Does YOUR STATE use                   Yes.
      licensed software (which              Please specify:
      ensures support for                   No.
      technical and security
      matters) for the taking of
      evidence by video-link?         Comments:
                                      We use the Apache Openmeetings software, Version 3.0.6 Release,
                                      which is developed under free software (freeware)
                                      (http://openmeetings.apache.org/#Audio_and_Video_Conferencing)
                                      Openmeetings is a software used for presentations, online training,
                                      web conferencing, drawing board, document collaboration and
                                      editing, user desktop exchange. The product is based on the
                                      OpenLaszlo RIA framework and the Red5 video server, which in turn
                                      relies on open source components.
                                      The communication takes place in the meeting rooms that establish
                                      the security and modes of video quality. The recommended
                                      database is MySQL. The product can be configured as an installed
                                      server product, or used as hosting. Openmeetings has applied for
                                      membership to the Apache Software Foundation incubator.
                                      Openmeetings is an alternative to other commercial software that
                                      allows you to create web-based conferences, share and broadcast
                                      audio, videos, presentations and chats. This is one of the first free
                                      projects that allows to make videoconferences. For its operation
                                      uses technology Flash, for which it uses the server Red5 that is an
                                      application that pretends to be a free alternative to Adobe Flash
                                      Media Server.
   b) What are the specifications     Codec (i.e., manufacturer, model, transmission speed, bandwidth):
      of the video-link               Openmeetings (Manufacturer: Apache Software Foundation; Model:
      technology in use in YOUR       Version 3.0.6 Release; Speed: 1Mbps per connection (minimum);
      STATE, including,if any, the    Bandwidth: 1Mbps per connection (minimum).
      minimum standards or            Video and audio standards (e.g. Standard Definition, High
      mechanisms used to              Definition, etc.):
      secure the                      Yasm, H.264 (MPEG-4 AVC) video streams, Audio Codec:
      communications and any          Nellymoser, Video Codec: VP8, Video Codec: H.263.
      recordings made?
                                      Type of network (e.g., ISDN, IP, etc.):
                                      IP
      States are encouraged to        Type of encryption for signals in secure transmissions:
      provide as much information
                                      You can use custom encryption type, but you must decide during
      as possible when responding
      to this question. As such, it   the installation the type of encryption to be used. By default, two
      may be useful to consider       types are available:
      liaising with the relevant IT   1) org.apache.openmeetings.util.crypt.MD5Implementation - this
      experts.                        uses MD5 common crypt as PHP. This is the default encryption;
                                      2) org.apache.openmeetings.util.crypt.MD5CryptImplementation -
                                      this uses the BSD encryption style. You can edit the configuration
                                      key during installation or later in the admin panel. But if you change
                                      it using the admin panel, the previous passwords might not work
                                      since they are encrypted with another algorithm.
                                      Split screen capability:
                                      Yes
                                      Document cameras:
                                      Yes, with the option sharing files with other remote users.
                                      Multipoint connections:
                                      Yes, satisfactory videoconferencing tests have been performed with
                                      up to 11 remote computers connected concurrently.



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                                  Additional specifications or capabilities:
                                  It allows the diffusion of video and audio; You can view the desktop
                                  of any participant; Available in 19 languages; Virtual whiteboard
                                  with drawing, writing, editing, "cut and paste" capabilities, resizing
                                  of images and inserting symbols; Lecture while drawing (4x4 or 1xn
                                  modus); Secure drawing; Import documents in most formats
                                  available; Sending invitations and direct links within the conference;
                                  System of moderators; Public and private conference rooms; The
                                  server can run on both Windows and Linux, and clients only need a
                                  browser and Flash Player, so you can participate in a session from
                                  almost any platform; Has a module for integration with Moodle.
                                  Protocols or other practices:
                                  Real-Time Messaging Protocol (RTMP) Flash Streaming. Use of
                                  OpenMeetings with RTMPS & HTTPS: There are three ways in which
                                  the Openmeetings client can communicate with the server: 1) The
                                  Flash client uses the RTMP protocol to transfer video / audio and to
                                  send and receive user data (login, etc.) to the server and vice
                                  versa; 2) The browser uses the HTTP protocol to load the SWF file
                                  and upload and download the files (documents, pdfs, images, etc.)
                                  to the server and vice versa; And 3) The screen sharing client uses
                                  the RTMP protocol to transfer screen data and remote control to the
                                  server and vice versa.


                                  Comments:


   c) Can evidence be taken via         Yes.
      commercial providers              Please specify: Although the recommendation is to use free
      (e.g., SkypeTM)?                  softwares and open standards.
                                        No.


                                  Comments:


   d) Does YOUR STATE have a            Yes.
      procedure for testing             Please specify: Review of the quality of service and diagnostic
      connections and the               module of OpenMeetings through a module included in the
      quality of transmissions          same app.
      before the hearing?               No.


                                  Comments:


   e) Does YOUR STATE have any          Yes.
      requirements as to the            Please specify: There is a "Normative Instruction for the
      hearing room, e.g.,should         videoconference service of the Executive Direction of the
      be located in a court,            Magistracy and the Judicial Power".
      should havea camera view
                                        No.
      of the whole room or a
      view of all the parties,
      etc.?                       Comments:




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                        PART IV - LEGAL CONSIDERATIONS (BOTH CHAPTERS)


   PART IV: USE OF VIDEO-LINKS UNDER BOTH CHAPTERS – LEGAL
   CONSIDERATIONS

   Restrictions
   a) Must a court order directing the use of video-         Yes.
      links first be obtained from the requesting            Please specify: As an exceptional route,
      State (Chapter I) / State of Origin                    the use of videoconferencing must be
      (Chapter II)?                                          authorized through a judicial resolution.
                                                             No.


                                                       Comments:


   b) Are there any restrictions on what type/s of           Yes.
      evidence can be taken by video-link or how it          Please specify:
      is to be taken?                                        No.


                                                       Comments:
                                                       It lays down, in matters of approval, the
                                                               principle of freedom of evidence. Its only
                                                               limitation is that it is not expressly
                                                               prohibited by the legal system and is not
                                                               contrary to public order.
   c) Are there any specific restrictions on how             Yes, there are specific restrictions.
      evidence gathered via video-link can be                Please specify:
      handled and distributed, or do the usual rules
                                                             No, the normal rules for evidence apply.
      for evidence obtained in person apply?

                                                       Comments:


   d) Are there any restrictions on the type of              Yes.
      person who may be examined by video-link?              Please specify:
                                                             No.


                                                       Comments:
                                                       In case of videoconferences, the normal rules for
                                                             evidences apply.
   e) Is it necessary to seek the consent of the             Yes.
      parties to use video-link to take evidence?            Please specify the conditions under which
                                                             parties may refuse the use of video-link:

                                                             No.


                                                       Comments:
                                                       It is the court's decision, whether or not to take
                                                               such evidence trought videoconferences.
   f) Are there any restrictions on the location             Yes.
      where the person should be examined                    Please specify:
      (e.g. in a courtroom, on the premises of an            No.
      Embassy or diplomatic mission)?

                                                       Comments:


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                  PART IV - LEGAL CONSIDERATIONS (BOTH CHAPTERS)


                                         There are no specific limitations, however, the
                                               evidence presented by the courts, must
                                               be practiced at its offices (Article 191 of
                                               the Code of Civil Procedure), or in the
                                               place enabled for videoconferencing.
                                               Embassies or diplomatic missions may
                                               conduct videoconferences at their offices,
                                               if they have the appropriate technological
                                               platform.




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                           PART IV - LEGAL CONSIDERATIONS (BOTH CHAPTERS)


   g) Can a witness / expert be compelled to use            Yes.
      video-links to give evidence?                         If so, please specify what coercive
                                                            measures may be used:
                                                            No.
                                                            Please explain:There are no special rules
                                                            in this matter. However, if a witness
                                                            refuses to appear, he may be subject to a
                                                            fine (Article 94 of the Code of Civil
                                                            Procedure)


                                                      Comments:
   h) Please briefly outline the procedure/s, under   Chapter I: After receiving the letter rogatory by
      Chapter I and Chapter II, for actually                the Central Authority, the competent
      notifying or summoning the witness / expert           court, by means of a decree, orders the
      to give evidence by video-link, including any         notification or summons, according to the
      references to relevant laws, regulations or           ordinary rules (Art. 218 and subsequent,
      practice.                                             of the Venezuelan Code of Civil
                                                            Procedure), expressly stating that the
      Please also include, where applicable, the            evidence will be presented through
      differences between notifying or summoning            videoconference (Articles 857 and 395 of
      a willing witness / expert and notifying or           the Venezuelan Code of Civil Procedure).
      summoning a witness / expert that is to be            Once the date and time of the hearing at
      compelled.                                            which the evidence will be presented by
                                                            videoconference is established, the
                                                            Central Authority shall be notified in order
                                                            to inform the requesting State (see, for
                                                            example, Art. 5 Venezuelan Approving Act
                                                            Additional Protocol to the Inter-American
                                                            Convention on the Taking of Evidence
                                                            Abroad)


                                                      Chapter II: The Law of the official submitting the
                                                            evidence applies, if it does not affect
                                                            public order of Venezuela.


                                                      Comments:


   i) The law of which State governs the use of       Chapter I:
      privileges?
                                                            The law of the Requesting State.
      Please tick all that apply.                           The law of the Requested State.
                                                            The law of another State.
      See Articles 11 and 21(e) of the Convention           Please specify:


                                                      Chapter II:
                                                            The law of the State of Origin.
                                                            The law of the State of Execution.
                                                            The law of another State.
                                                            Please specify:


                                                      Comments:
                                                      See Art. 12 Venezuelan Approving Act Inter-
                                                            American Convention on Letters Rogatory



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                  PART IV - LEGAL CONSIDERATIONS (BOTH CHAPTERS)




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                             PART V - LEGAL CONSIDERATIONS (CHAPTER I)


   PART V:USE OF VIDEO-LINKS UNDER CHAPTER I (LETTERS OF REQUEST) – LEGAL
   CONSIDERATIONS

   Legal obstacles
   a) Does YOUR STATE consider that there are legal            Yes.
      obstacles to using video-link to assist in the           Please specify:
      taking of evidence under Chapter I of the
                                                               No.
      Convention?

      The Special Commission has noted that the use of    Comments:
      video-link and similar technologies is consistent
      with the current framework of the Convention (see
      C&R No 55 of the 2009 SC and C&R No 20 of the
      2014 SC).


   Direct and indirect taking of evidence
   b) Under Chapter I of the Convention, does YOUR             Yes.
      STATE allow for the direct taking of evidence
                                                               No.
      by judicial personnel of the requesting State
      (i.e.,the State in which the proceedings are
      pending)?                                           Comments:


   c) Under which provisions of Chapter I of the               Art. 9(1) –The judicial authority of the
      Convention is indirect taking of evidence by             requested State obtains evidence (e.g., a
      video-link possible in YOUR STATE?                       witness / expert examination) which is
                                                               located in a (distant) location within its own
                                                               State.
                                                               Art. 9(2) - As a special method or
                                                               procedure.
                                                               Please also outline whether any specific
                                                               conditions must be satisfied:

                                                          See also questions on presence.


                                                          Comments:


   Legal safeguards for witness / expert
   d) What are the legal safeguards in place for          In some cases, safeguards measures may be
      witnesses / experts in YOUR STATE when                    used (see Act on Protection of Victims,
      evidence is taken by video-link under                     Witnesses and other procedural subjects).
      Chapter I (e.g. protective measures for the               The right to defense is guaranteed free of
      witness / expert, provision of interpretation,            charge by public defenders, to those who
      right to legal counsel, etc.)?                            request. In relation to language
                                                                interpretation, there is an official list of
                                                                interpreters accredited to the national
                                                                government, whose service must be paid
                                                                by the interested parties (see
                                                                http://www.mpprijp.gob.ve/wp-
                                                                content/PDF/listadoOctubre2015.pdf).


   Presence
   e) Are the rules for the presence of the parties             Yes.
      and their representatives when physically in a            If so, please specify if they are allowed to
      single locationthe same for when evidence is              actively participate:


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                              PART V - LEGAL CONSIDERATIONS (CHAPTER I)


      taken via video-link?                                    The parties and their attorneys can
                                                               attend, participating, according to the
      See Article 7 of the Convention
                                                               normal rules for the presentation of
                                                               evidences (see, for example, Art. 5
                                                               Venezuelan Approving Act Additional
                                                               Protocol to the Inter-American Convention
                                                               on the Taking of Evidence Abroad)
                                                               No.


                                                         Comments:


   f) Under Chapter I of the Convention, does YOUR             Yes.
      STATE allow for the cross-examination of a               No.
      witness / expertby video-link by the
      representatives located in the requesting
      State (i.e.,the State in which the proceedings     Comments:
      are pending)?                                      It should be allowed in accordance with the spirit
                                                         of Article 3, paragraphs f and g of the
                                                         Convention, since they are who make the
                                                         request.
   g) Does YOUR STATE allow for the presence of the            Yes.
      judicial personnel of the requesting State via           If so, please specify if they are allowed to
      video-link?                                              activelyparticipate:
      See Article 8 of the Convention                          It should be allowed in accordance with
      Please note that a declaration may be made under         the spirit of Article 3, paragraphs f and g
      this provision.                                          of the Convention, since they are who
                                                               make the request.
                                                               No.


                                                         Comments:




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                            PART VI - LEGAL CONSIDERATIONS (CHAPTER II)


   PART VI: USE OF VIDEO-LINKS UNDER CHAPTER II(BY DIPLOMATIC OFFICERS,
   CONSULAR AGENTS AND COMMISSIONERS) – LEGAL CONSIDERATIONS

   The questions in this Part are only for States that have not wholly excluded the
   application of Chapter II
   Please note that Chapter II may be subject to a reservation in whole or in part under Article 33.
   Check the reservations that YOUR STATE has made under this Chapter in the status table, available on
   the Evidence Section of the Hague Conference website.

   Legal obstacles and legal framework
   a) Does YOUR STATE consider there to be any                  Yes.
      legal obstacles to the taking of evidence by              Please specify:
      video-link under Chapter II of the
                                                                No.
      Convention?

      The Special Commission has noted that the use of    Comments:
      video-link and similar technologies is consistent
      with the current framework of the Convention
      (C&R No 55 of the 2009 SC and C&R No 20 of the
      2014 SC).

   b) Under which provisions of Chapter II of the               Art. 15
      Convention is taking of evidence by video-link            Art. 16
      possible in YOUR STATE?
                                                                Art. 17


                                                          Comments:
                                                          It does not proceed through Art. 17, since
                                                          Venezuela made a reservation of the
                                                          intervention in the obtaining of evidences by the
                                                          commissioners of the court.
   c) Is prior permission from YOUR STATErequired               Yes.
      when taking evidence under Chapter II of the              Please outline the procedure for seeking
      Convention on the territory of YOUR STATE?                such permission, including any specific
                                                                conditions that must be satisfied:

                                                                No.


                                                          Comments:


   d) Please indicate who administers the oath or         Administration of the oath or affirmation:
      affirmation and how perjury and contempt            The oath and declaration shall be carried out by
      are dealt with when evidence is taken under               the diplomatic or consular official and shall
      Chapter II of the Convention on the territory             be regulated by its domestic Law.
      of YOUR STATE.

                                                          Dealing with perjury and contempt:
                                                          Contempt and false testimony are regulated by
                                                          the Law of the State of origin.

   Direct and indirect taking of evidence
   e) Diplomatic and consular agents are usually                Yes.
      located in the State where the                            Please specify:
      witness / expert resides. It may be, however,             No.
      that a witness / expert is located in a
      neighbouring country or in a place distant


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     from the Embassy or Consulate. In these         Comments:
     circumstances, does YOUR STATE consider it
     possible to use video-link to obtain evidence
     under Chapter II of the Convention?




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   Legal safeguards for witness / expert
   f) What are the legal safeguards in place for       In some cases it can applied legal safeguards
      witnesses / experts in YOUR STATE when                 measures (See Act of Protection for
      evidence is taken by video-link under                  Victims, Witnesses and other processal
      Chapter II (e.g. protective measures for the           subjects). The right to defense is
      witness / expert, provision of interpretation,         guaranteed, free of charge by public
      right to legal counsel, etc.)?                         defenders, if required by the interested
                                                             party.


   Presence
   g) Under the law of YOUR STATE, who may be                The parties.
      present via video-link when evidence is taken          The parties’ representatives.
      by diplomatic and consular agents?
                                                             Judicial personnel.
                                                             Someone else.
      Please tick all that apply.                            Please specify:


                                                       Comments:


   h) Under the law of YOUR STATE, who may be                The parties.
      present via video-link when evidence is taken          The parties’ representatives.
      by commissioners?
                                                             Judicial personnel.
                                                             Someone else.
      Please tick all that apply.                            Please specify:


                                                       Comments:
                                                       Venezuela made a reservation of the
                                                            intervention in the obtaining of evidences
                                                            by the commissioners of the court.

   Applicable law
   i) The law of which State governs the                     The law of the State of Origin
      administration of an oath or affirmation when          The law of the State of Execution
      evidence is taken by video-link under
                                                             It depends on whether evidence is taken
      Chapter II?
                                                             by a consular or diplomatic agent or a
                                                             commissioner.
                                                             Please specify:


                                                       Comments:


   j) The law of which State governs perjury and             The law of the State of Origin
      contempt when evidence is taken by video-              The law of the State of Execution
      link under Chapter II?
                                                             It depends on whether evidence is taken
                                                             by a consular or diplomatic agent or a
                                                             commissioner.
                                                             Please specify:


                                                       Comments:




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                      PART VII – PRACTICAL CONSIDERATIONS (BOTH CHAPTERS)


   PART VII PRACTICAL CONSIDERATIONS

   COMMON TO BOTH CHAPTERS
   Notice
   a) What does YOUR STATE consider to be the            Chapter I: 15 working days
      minimum amount of time required between
      the request and the actual hearing in order to
                                                         Chapter II: 15 working days
      make the arrangements to take evidence by
      video-link?
   Interpretation services
   b) Who is responsible, under Chapter I and            Chapter I: The interested party, and
      Chapter II, for the use of interpretation                exceptionally when this is requested by
      services and who arranges these services in              the Court, will be counted on free
      YOUR STATE when video-link is used?                      interpreter.


                                                         Chapter II: The origin State's Law will be applied
   c) Are professional accredited interpreters                 Yes.
      required in YOUR STATE, and where can                    Please specify: They are interpreters
      relevant contact details be found?                       recognized by the Venezuelan Ministry of
                                                               Internal Affairs, Justice and Peace (see
                                                               http://www.mpprijp.gob.ve/wp-
                                                               content/PDF/listadoOctubre2015.pdf).

                                                               No.


                                                         Comments:


   d) Under the law of YOUR STATE, is interpretation     Consecutive
      to be simultaneous or consecutive when a
      witness / expert is examined via video-link?
   e) Where may the interpreter be located when a              In the room with the witness / expert.
      witness / expert is examined via video-link?             In the room with those conducting the
      Please check all that apply.                             examination.
                                                               Elsewhere in the requesting State
                                                               (Chapter I) / State of Origin (Chapter II).
                                                               Elsewhere in the requested State
                                                               (Chapter I) / State of Execution
                                                               (Chapter II).
                                                               In a third State.
                                                               Other.
                                                               Please specify:


                                                         Comments:


   Reporting and recording
   f) Is a written report of the video-link hearing or         Yes.
      testimony prepared?                                      Please specify by whom:
                                                         Chapter I: It is always recorded in court
                                                               minutes, according to the general rules on
                                                               evidence (See Art. 188 of the Venezuelan
                                                               Code of Civil Procedure), and it is sent to



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                                                             the Central Authority.
                                                       Chapter II: The law of the State of origin shall
                                                             apply.
                                                             Please also outline the specific rules or
                                                             regulations, if any, that are applicable to
                                                             the handling/storage/distribution of the
                                                             report:
                                                             No.


                                                       Comments:


   g) Are facilities and equipment made available in         Yes, with audio and video.
      order to record the hearing or testimony?              Yes, only with video.
                                                             Yes, only with audio.
                                                             No, but the recording of
                                                             hearings/testimonies is permitted.


                                                             If a recording is produced, please also
                                                             outline the specific rules or regulations, if
                                                             any, that are applicable to the
                                                             handling/storage/distribution of the
                                                             recording:


                                                             No, because the recording of
                                                             hearings/testimonies is not permitted
                                                             under internal law.


                                                       Comments:


   Documents and exhibits
   h) What arrangements are to be made for             Security measures and measures of control to
      showing or referring to documents or exhibits    the evidences. Exhibition and explanation in
      when taking evidence by video-link?              camera of documentary data of the documents.




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                          PART VII – PRACTICAL CONSIDERATIONS (CHAPTER I)


   PRACTICAL CONSIDERATIONS UNDER CHAPTER I
   Practical obstacles
   i) Does YOUR STATE consider that there are                    Yes.
      practical obstacles to using video-link to                 Please specify: In Venezuela there are no
      assist in the taking of evidence under                     videoconference rooms in all judicial
      Chapter I of the Convention?                               circuits.
                                                                 No.


                                                            Comments:


   Identification of all relevant actors
   j) What is the procedure for verifying the               Presentation of identification document of the
      identity of the parties, the witness / expert,        witness/expert; exhibition in front of the camera
      and all relevant actors in YOUR STATE when            and certification by the authorities present at the
      video-link is used under Chapter I?                   event.
   Standard Forms
   k) Do the authorities of YOUR STATE use a                      Yes.
      standardised request form under Chapter I                   Please specify: It is use the standard
      that makes specific reference to the use of                 application form recommended by the
      video-links?                                                Hague Conference
      The use of the Model Form of the Evidence                   The standardised form used makes no
      Convention is recommended when taking evidence              reference to video-link.
      under Chapter I.
                                                                  No standardised form is used.
      While the Model Form has no explicit reference to
      the use of video-link, a request to this effect may
      be included in item 13 of the Form.                   Comments:
                                                            The Additional Protocol of The Inter-American
                                                            Convention on Letter Rogatory and the
                                                            Additional Protocol to the Inter-American
                                                            Convention on the Taking of Evidence Abroad,
                                                            also have standard applications forms.
   l) Does YOUR STATE require the inclusion of any                Yes.
      particular practical or technical information               Please specify: Contact details of the
      from the requesting State in the request in                 computer service personnel in charge, and
      order to conduct / arrange a witness / expert               technical specifications.
      examination by video-link under Chapter I?                  No.
      (e.g. contact details for IT support, technical
      specifications, etc)
                                                            Comments:


   Costs
   m) Are there any costs associated with the taking              Yes.
      of evidencevia video-link under Chapter I in                Please provide an approximate estimate of
      YOUR STATE?                                                 these costs and / or specify the criteria
                                                                  used to determine these costs:

                                                                  No.


                                                            Comments:
                                                            In Venezuela the access to justice is free.




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   n) Who is responsible for bearing the costs              The moving party (requesting the use of
      occasioned bythe use of video-link under              video-link).
      Chapter I in YOUR STATE?                              The requesting authority (in the
      See Art. 14(2) of the Evidence Convention             requesting State).
                                                            The requested authority (in the requested
                                                            State).
                                                            Other.
                                                            Please specify:


                                                      Comments:
                                                      The cost generated by the use of equipment for
                                                            videoconferencing is assumed by the
                                                            State, since access to justice is free in
                                                            Venezuela. However, the use of
                                                            interpreters must be paid by the
                                                            requesting party.
   o) How are these costs generally expected to be          Payment in cash
      paid and/or reimbursed?                               Payment by (credit) card
                                                            Electronic/wire transfer
                                                            Other.
                                                            Please specify:
                                                      Comments:
                                                      The method of payment must be agreed
                                                           between the requesting party and the
                                                           service provider.
   p) Who pays for the interpretation services        The requesting party must pay it. The method of
      under Chapter I in YOUR STATE when video-link         payment must be agreed between the
      is used and how are these costs to be paid            requesting party and the service provider.
      and/or reimbursed?




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   PRACTICAL CONSIDERATIONS UNDER CHAPTER II
   Only for States that have not excluded in whole the application of Chapter II
   Practical obstacles
   q) Does YOUR STATE consider that there are                    Yes.
      practical obstacles to using video-link to                 Please specify:
      assist in the taking of evidence under
                                                                 No.
      Chapter II of the Convention?

                                                            Comments:


   Identification of all relevant actors
   r) What is the procedure for verifying the               According to the laws in the State of origin
      identity of the parties, the witness / expert,
      and all relevant actors in YOUR STATE when
      video-link is used under Chapter II?
   Standard Forms
   s) Do the authorities of YOUR STATE use a                      Yes.
      standardised request form under Chapter II                  Please specify:
      that makes specific reference to the use of                 The standardised form used makes no
      video-links?                                                reference to video-link.
      Although the use of the Model Form of the                   No standardised form is used.
      Evidence Convention is recommended when taking
      evidence under Chapter I, it may also be used,
      with the necessary amendments when applying for       Comments:
      permission to take evidence under Chapter II.
      While the Model Form has no explicit reference to
      the use of video-link, a request to this effect may
      be included in item 13 of the Form.
   Assistance and facilities
   t) Are the Embassies and Consulates of YOUR                    Yes.
      STATE (acting as the State of Execution) able               Please specify how, e.g., via a booking
      to assist applicants in arranging a video-link?             system: A written agreement between
                                                                  both States and the requested party.
                                                                  No. Please specify who else would assist, if
                                                                  anyone:


                                                            Comments:


   u) Is it possible to hold a video-link session                 Yes.
      requested under the Convention at the                       Please specify: Through the support of the
      premises of the Embassies or Consulates of                  Central Authority of the State of
      YOUR STATE abroad?                                          execution.
                                                                  No.


                                                            Comments:


   v) Does YOUR STATE require the inclusion of any                Yes.
      particular practical or technical information               Please specify:
      from the State of Origin in the request in                  No.
      order to conduct / arrange a witness or
      expert examination by video-link under
      Chapter II? (e.g. the use of interpreters,            Comments:



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     stenographers, or recording devices)




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   Costs
   w) Are there any costs associated with the taking         Yes.
      of evidencevia video-link under Chapter II in          Please provide an approximate estimate of
      YOUR STATE?                                            these costs and / or specify the criteria
                                                             used to determine these costs:

                                                             No.


                                                       Comments:


   x) Who is responsible for bearing the costs               The moving party (requesting the use of
      occasioned by the use of video-link under              video-link).
      Chapter II in YOUR STATE?                              The State of Origin
                                                             The Diplomatic mission or Consulate in
                                                             the State of Execution.
                                                             The commissioner
                                                             Other.
                                                             Please specify:


                                                       Comments:


   y) How are these costs generally expected to be           Payment in cash
      paid and/or reimbursed?                                Payment by (credit) card
                                                             Electronic/wire transfer
                                                             Other.
                                                             Please specify:
                                                       Comments:
                                                       In accordance with the laws of the State of origin
   z) Who pays for the interpretation services         The requesting party must pay it. The method of
      under Chapter II in YOUR STATE when video-             payment must be agreed between the
      link is used and how are these costs to be             requesting party and the service provider.
      paid and/or reimbursed?




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                               20. CONVENTION ON THE TAKING OF EVIDENCE
                                ABROAD IN CIVIL OR COMMERCIAL MATTERS1

                                             (Concluded 18 March 1970)


    The States signatory to the present Convention,
    Desiring to facilitate the transmission and execution of Letters of Request and to further the
    accommodation of the different methods which they use for this purpose,
    Desiring to improve mutual judicial co-operation in civil or commercial matters,
    Have resolved to conclude a Convention to this effect and have agreed upon the following provisions –


                                           CHAPTER I – LETTERS OF REQUEST



                                                        Article 1

    In civil or commercial matters a judicial authority of a Contracting State may, in accordance with the
    provisions of the law of that State, request the competent authority of another Contracting State, by
    means of a Letter of Request, to obtain evidence, or to perform some other judicial act.
    A Letter shall not be used to obtain evidence which is not intended for use in judicial proceedings,
    commenced or contemplated.
    The expression "other judicial act" does not cover the service of judicial documents or the issuance of
    any process by which judgments or orders are executed or enforced, or orders for provisional or
    protective measures.


                                                        Article 2

    A Contracting State shall designate a Central Authority which will undertake to receive Letters of Request
    coming from a judicial authority of another Contracting State and to transmit them to the authority
    competent to execute them. Each State shall organise the Central Authority in accordance with its own
    law.
    Letters shall be sent to the Central Authority of the State of execution without being transmitted through
    any other authority of that State.


                                                        Article 3

    A Letter of Request shall specify –
    a)    the authority requesting its execution and the authority requested to execute it, if known to the
          requesting authority;
    b)    the names and addresses of the parties to the proceedings and their representatives, if any;
    c)    the nature of the proceedings for which the evidence is required, giving all necessary information
          in regard thereto;
    d)    the evidence to be obtained or other judicial act to be performed.

    1
      This Convention, including related materials, is accessible on the website of the Hague Conference on Private
    International Law (www.hcch.net), under “Conventions” or under the “Evidence Section”. For the full history of the
    Convention, see Hague Conference on Private International Law, Actes et documents de la Onzième session
    (1968), Tome IV, Obtention des preuves (219 pp.).
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          Where appropriate, the Letter shall specify, inter alia –
    e)    the names and addresses of the persons to be examined;
    f)    the questions to be put to the persons to be examined or a statement of the subject-matter about
          which they are to be examined;
    g)    the documents or other property, real or personal, to be inspected;
    h)    any requirement that the evidence is to be given on oath or affirmation, and any special form to
          be used;
    i)    any special method or procedure to be followed under Article 9.

    A Letter may also mention any information necessary for the application of Article 11.
    No legalisation or other like formality may be required.


                                                      Article 4

    A Letter of Request shall be in the language of the authority requested to execute it or be accompanied
    by a translation into that language.
    Nevertheless, a Contracting State shall accept a Letter in either English or French, or a translation into
    one of these languages, unless it has made the reservation authorised by Article 33.
    A Contracting State which has more than one official language and cannot, for reasons of internal law,
    accept Letters in one of these languages for the whole of its territory, shall, by declaration, specify the
    language in which the Letter or translation thereof shall be expressed for execution in the specified parts
    of its territory. In case of failure to comply with this declaration, without justifiable excuse, the costs of
    translation into the required language shall be borne by the State of origin.
    A Contracting State may, by declaration, specify the language or languages other than those referred to
    in the preceding paragraphs, in which a Letter may be sent to its Central Authority.
    Any translation accompanying a Letter shall be certified as correct, either by a diplomatic officer or
    consular agent or by a sworn translator or by any other person so authorised in either State.


                                                      Article 5

    If the Central Authority considers that the request does not comply with the provisions of the present
    Convention, it shall promptly inform the authority of the State of origin which transmitted the Letter of
    Request, specifying the objections to the Letter.


                                                      Article 6

    If the authority to whom a Letter of Request has been transmitted is not competent to execute it, the
    Letter shall be sent forthwith to the authority in the same State which is competent to execute it in
    accordance with the provisions of its own law.


                                                      Article 7

    The requesting authority shall, if it so desires, be informed of the time when, and the place where, the
    proceedings will take place, in order that the parties concerned, and their representatives, if any, may
    be present. This information shall be sent directly to the parties or their representatives when the
    authority of the State of origin so requests.


                                                      Article 8

    A Contracting State may declare that members of the judicial personnel of the requesting authority of
    another Contracting State may be present at the execution of a Letter of Request. Prior authorisation by
    the competent authority designated by the declaring State may be required.


                                                      Article 9

    The judicial authority which executes a Letter of Request shall apply its own law as to the methods and
    procedures to be followed.
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    However, it will follow a request of the requesting authority that a special method or procedure be
    followed, unless this is incompatible with the internal law of the State of execution or is impossible of
    performance by reason of its internal practice and procedure or by reason of practical difficulties.
    A Letter of Request shall be executed expeditiously.


                                                     Article 10

    In executing a Letter of Request the requested authority shall apply the appropriate measures of
    compulsion in the instances and to the same extent as are provided by its internal law for the execution
    of orders issued by the authorities of its own country or of requests made by parties in internal
    proceedings.


                                                     Article 11

    In the execution of a Letter of Request the person concerned may refuse to give evidence in so far as
    he has a privilege or duty to refuse to give the evidence –
    a)     under the law of the State of execution; or
    b)     under the law of the State of origin, and the privilege or duty has been specified in the Letter, or,
           at the instance of the requested authority, has been otherwise confirmed to that authority by the
           requesting authority.

    A Contracting State may declare that, in addition, it will respect privileges and duties existing under the
    law of States other than the State of origin and the State of execution, to the extent specified in that
    declaration.


                                                     Article 12

    The execution of a Letter of Request may be refused only to the extent that –
    a)    in the State of execution the execution of the Letter does not fall within the functions of the
          judiciary; or
    b)    the State addressed considers that its sovereignty or security would be prejudiced thereby.

    Execution may not be refused solely on the ground that under its internal law the State of execution
    claims exclusive jurisdiction over the subject-matter of the action or that its internal law would not admit
    a right of action on it.


                                                     Article 13

    The documents establishing the execution of the Letter of Request shall be sent by the requested
    authority to the requesting authority by the same channel which was used by the latter.
    In every instance where the Letter is not executed in whole or in part, the requesting authority shall be
    informed immediately through the same channel and advised of the reasons.


                                                     Article 14

    The execution of the Letter of Request shall not give rise to any reimbursement of taxes or costs of any
    nature.
    Nevertheless, the State of execution has the right to require the State of origin to reimburse the fees
    paid to experts and interpreters and the costs occasioned by the use of a special procedure requested
    by the State of origin under Article 9, paragraph 2.
    The requested authority whose law obliges the parties themselves to secure evidence, and which is not
    able itself to execute the Letter, may, after having obtained the consent of the requesting authority,
    appoint a suitable person to do so. When seeking this consent the requested authority shall indicate the
    approximate costs which would result from this procedure. If the requesting authority gives its consent it
    shall reimburse any costs incurred; without such consent the requesting authority shall not be liable for
    the costs.
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       CHAPTER II – TAKING OF EVIDENCE BY DIPLOMATIC OFFICERS, CONSULAR AGENTS AND COMMISSIONERS



                                                    Article 15

    In a civil or commercial matter, a diplomatic officer or consular agent of a Contracting State may, in the
    territory of another Contracting State and within the area where he exercises his functions, take the
    evidence without compulsion of nationals of a State which he represents in aid of proceedings
    commenced in the courts of a State which he represents.
    A Contracting State may declare that evidence may be taken by a diplomatic officer or consular agent
    only if permission to that effect is given upon application made by him or on his behalf to the appropriate
    authority designated by the declaring State.


                                                    Article 16

    A diplomatic officer or consular agent of a Contracting State may, in the territory of another Contracting
    State and within the area where he exercises his functions, also take the evidence, without compulsion,
    of nationals of the State in which he exercises his functions or of a third State, in aid of proceedings
    commenced in the courts of a State which he represents, if –
    a)     a competent authority designated by the State in which he exercises his functions has given its
           permission either generally or in the particular case, and
    b)     he complies with the conditions which the competent authority has specified in the permission.

    A Contracting State may declare that evidence may be taken under this Article without its prior
    permission.


                                                    Article 17

    In a civil or commercial matter, a person duly appointed as a commissioner for the purpose may, without
    compulsion, take evidence in the territory of a Contracting State in aid of proceedings commenced in the
    courts of another Contracting State if –
    a)     a competent authority designated by the State where the evidence is to be taken has given its
           permission either generally or in the particular case; and
    b)     he complies with the conditions which the competent authority has specified in the permission.

    A Contracting State may declare that evidence may be taken under this Article without its prior
    permission.


                                                    Article 18

    A Contracting State may declare that a diplomatic officer, consular agent or commissioner authorised to
    take evidence under Articles 15, 16 or 17, may apply to the competent authority designated by the
    declaring State for appropriate assistance to obtain the evidence by compulsion. The declaration may
    contain such conditions as the declaring State may see fit to impose.
    If the authority grants the application it shall apply any measures of compulsion which are appropriate
    and are prescribed by its law for use in internal proceedings.


                                                    Article 19

    The competent authority, in giving the permission referred to in Articles 15, 16 or 17, or in granting the
    application referred to in Article 18, may lay down such conditions as it deems fit, inter alia, as to the
    time and place of the taking of the evidence. Similarly it may require that it be given reasonable advance
    notice of the time, date and place of the taking of the evidence; in such a case a representative of the
    authority shall be entitled to be present at the taking of the evidence.
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                                                     Article 20

    In the taking of evidence under any Article of this Chapter persons concerned may be legally
    represented.


                                                     Article 21

    Where a diplomatic officer, consular agent or commissioner is authorised under Articles 15, 16 or 17 to
    take evidence –
    a)    he may take all kinds of evidence which are not incompatible with the law of the State where the
          evidence is taken or contrary to any permission granted pursuant to the above Articles, and shall
          have power within such limits to administer an oath or take an affirmation;
    b)    a request to a person to appear or to give evidence shall, unless the recipient is a national of the
          State where the action is pending, be drawn up in the language of the place where the evidence
          is taken or be accompanied by a translation into such language;
    c)    the request shall inform the person that he may be legally represented and, in any State that has
          not filed a declaration under Article 18, shall also inform him that he is not compelled to appear or
          to give evidence;
    d)    the evidence may be taken in the manner provided by the law applicable to the court in which the
          action is pending provided that such manner is not forbidden by the law of the State where the
          evidence is taken;
    e)    a person requested to give evidence may invoke the privileges and duties to refuse to give the
          evidence contained in Article 11.


                                                     Article 22

    The fact that an attempt to take evidence under the procedure laid down in this Chapter has failed, owing
    to the refusal of a person to give evidence, shall not prevent an application being subsequently made to
    take the evidence in accordance with Chapter I.


                                          CHAPTER III – GENERAL CLAUSES



                                                     Article 23

    A Contracting State may at the time of signature, ratification or accession, declare that it will not execute
    Letters of Request issued for the purpose of obtaining pre-trial discovery of documents as known in
    Common Law countries.


                                                     Article 24

    A Contracting State may designate other authorities in addition to the Central Authority and shall
    determine the extent of their competence. However, Letters of Request may in all cases be sent to the
    Central Authority.
    Federal States shall be free to designate more than one Central Authority.


                                                     Article 25

    A Contracting State which has more than one legal system may designate the authorities of one of such
    systems, which shall have exclusive competence to execute Letters of Request pursuant to this
    Convention.


                                                     Article 26

    A Contracting State, if required to do so because of constitutional limitations, may request the
    reimbursement by the State of origin of fees and costs, in connection with the execution of Letters of
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    Request, for the service of process necessary to compel the appearance of a person to give evidence,
    the costs of attendance of such persons, and the cost of any transcript of the evidence.
    Where a State has made a request pursuant to the above paragraph, any other Contracting State may
    request from that State the reimbursement of similar fees and costs.


                                                    Article 27

    The provisions of the present Convention shall not prevent a Contracting State from –
    a)    declaring that Letters of Request may be transmitted to its judicial authorities through channels
          other than those provided for in Article 2;
    b)    permitting, by internal law or practice, any act provided for in this Convention to be performed
          upon less restrictive conditions;
    c)    permitting, by internal law or practice, methods of taking evidence other than those provided for
          in this Convention.


                                                    Article 28

    The present Convention shall not prevent an agreement between any two or more Contracting States to
    derogate from –
    a)    the provisions of Article 2 with respect to methods of transmitting Letters of Request;
    b)    the provisions of Article 4 with respect to the languages which may be used;
    c)    the provisions of Article 8 with respect to the presence of judicial personnel at the execution of
          Letters;
    d)    the provisions of Article 11 with respect to the privileges and duties of witnesses to refuse to give
          evidence;
    e)    the provisions of Article 13 with respect to the methods of returning executed Letters to the
          requesting authority;
    f)    the provisions of Article 14 with respect to fees and costs;
    g)    the provisions of Chapter II.


                                                    Article 29

    Between Parties to the present Convention who are also Parties to one or both of the Conventions on
    Civil Procedure signed at The Hague on the 17th of July 1905 and the 1st of March 1954, this Convention
    shall replace Articles 8-16 of the earlier Conventions.


                                                    Article 30

    The present Convention shall not affect the application of Article 23 of the Convention of 1905, or of
    Article 24 of the Convention of 1954.


                                                    Article 31

    Supplementary Agreements between Parties to the Conventions of 1905 and 1954 shall be considered
    as equally applicable to the present Convention unless the Parties have otherwise agreed.


                                                    Article 32

    Without prejudice to the provisions of Articles 29 and 31, the present Convention shall not derogate from
    conventions containing provisions on the matters covered by this Convention to which the Contracting
    States are, or shall become Parties.
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                                                       Article 33

    A State may, at the time of signature, ratification or accession exclude, in whole or in part, the application
    of the provisions of paragraph 2 of Article 4 and of Chapter II. No other reservation shall be permitted.
    Each Contracting State may at any time withdraw a reservation it has made; the reservation shall cease
    to have effect on the sixtieth day after notification of the withdrawal.
    When a State has made a reservation, any other State affected thereby may apply the same rule against
    the reserving State.


                                                       Article 34

    A State may at any time withdraw or modify a declaration.


                                                       Article 35

    A Contracting State shall, at the time of the deposit of its instrument of ratification or accession, or at a
    later date, inform the Ministry of Foreign Affairs of the Netherlands of the designation of authorities,
    pursuant to Articles 2, 8, 24 and 25.
    A Contracting State shall likewise inform the Ministry, where appropriate, of the following –
    a)     the designation of the authorities to whom notice must be given, whose permission may be
           required, and whose assistance may be invoked in the taking of evidence by diplomatic officers
           and consular agents, pursuant to Articles 15, 16 and 18 respectively;
    b)     the designation of the authorities whose permission may be required in the taking of evidence by
           commissioners pursuant to Article 17 and of those who may grant the assistance provided for in
           Article 18;
    c)     declarations pursuant to Articles 4, 8, 11, 15, 16, 17, 18, 23 and 27;
    d)     any withdrawal or modification of the above designations and declarations;
    e)     the withdrawal of any reservation.


                                                       Article 36

    Any difficulties which may arise between Contracting States in connection with the operation of this
    Convention shall be settled through diplomatic channels.


                                                       Article 37

    The present Convention shall be open for signature by the States represented at the Eleventh Session
    of the Hague Conference on Private International Law.
    It shall be ratified, and the instruments of ratification shall be deposited with the Ministry of Foreign Affairs
    of the Netherlands.


                                                       Article 38

    The present Convention shall enter into force on the sixtieth day after the deposit of the third instrument
    of ratification referred to in the second paragraph of Article 37.
    The Convention shall enter into force for each signatory State which ratifies subsequently on the sixtieth
    day after the deposit of its instrument of ratification.


                                                       Article 39

    Any State not represented at the Eleventh Session of the Hague Conference on Private International
    Law which is a Member of this Conference or of the United Nations or of a specialised agency of that
    Organisation, or a Party to the Statute of the International Court of Justice may accede to the present
    Convention after it has entered into force in accordance with the first paragraph of Article 38.
    The instrument of accession shall be deposited with the Ministry of Foreign Affairs of the Netherlands.
    The Convention shall enter into force for a State acceding to it on the sixtieth day after the deposit of its
    instrument of accession.
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    The accession will have effect only as regards the relations between the acceding State and such
    Contracting States as will have declared their acceptance of the accession. Such declaration shall be
    deposited at the Ministry of Foreign Affairs of the Netherlands; this Ministry shall forward, through
    diplomatic channels, a certified copy to each of the Contracting States.
    The Convention will enter into force as between the acceding State and the State that has declared its
    acceptance of the accession on the sixtieth day after the deposit of the declaration of acceptance.


                                                       Article 40

    Any State may, at the time of signature, ratification or accession, declare that the present Convention
    shall extend to all the territories for the international relations of which it is responsible, or to one or more
    of them. Such a declaration shall take effect on the date of entry into force of the Convention for the
    State concerned.
    At any time thereafter, such extensions shall be notified to the Ministry of Foreign Affairs of the
    Netherlands.
    The Convention shall enter into force for the territories mentioned in such an extension on the sixtieth
    day after the notification indicated in the preceding paragraph.


                                                       Article 41

    The present Convention shall remain in force for five years from the date of its entry into force in
    accordance with the first paragraph of Article 38, even for States which have ratified it or acceded to it
    subsequently.
    If there has been no denunciation, it shall be renewed tacitly every five years.
    Any denunciation shall be notified to the Ministry of Foreign Affairs of the Netherlands at least six months
    before the end of the five year period.
    It may be limited to certain of the territories to which the Convention applies.
    The denunciation shall have effect only as regards the State which has notified it. The Convention shall
    remain in force for the other Contracting States.


                                                       Article 42

    The Ministry of Foreign Affairs of the Netherlands shall give notice to the States referred to in Article 37,
    and to the States which have acceded in accordance with Article 39, of the following –
    a)    the signatures and ratifications referred to in Article 37;
    b)    the date on which the present Convention enters into force in accordance with the first paragraph
          of Article 38;
    c)    the accessions referred to in Article 39 and the dates on which they take effect;
    d)    the extensions referred to in Article 40 and the dates on which they take effect;
    e)    the designations, reservations and declarations referred to in Articles 33 and 35;
    f)    the denunciations referred to in the third paragraph of Article 41.


    In witness whereof the undersigned, being duly authorised thereto, have signed the present Convention.

    Done at The Hague, on the 18th day of March, 1970, in the English and French languages, both texts
    being equally authentic, in a single copy which shall be deposited in the archives of the Government of
    the Netherlands, and of which a certified copy shall be sent, through the diplomatic channel, to each of
    the States represented at the Eleventh Session of the Hague Conference on Private International Law.
HCCH | #20 - Status table                                                            https://www.hcch.net/en/instruments/conventions/status-table/?cid=82
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           STATUS TABLE


           20: Convention of 18 March 1970 on the Taking of Evidence Abroad in Civil or Commercial
           Matters
           Entry into force: 7-X-1972



           Last update: 19-I-2023
                                                                                                      View and/or print full status report
           Number of Contracting Parties to this Convention: 65
           The expression “Contracting Party” covers both cases in which the Convention has,
           and cases in which the Convention has not yet, entered into force for that Party following the deposit of its instrument of rati�cation,
           accession, acceptance or approval (see column EIF in the chart).



           Contracting Parties to this Convention that are also Members of the HCCH (i.e., the Organisation) are in bold; Contracting
           Parties that are not Members of the HCCH are in italics.

                                      1                   2
            Contracting Party     S               R/A/S             Type 3          EIF 4           EXT 5           Auth   6
                                                                                                                                    Res/D/N/DC        7



            Albania                                 16-VII-2010     A*              14-IX-2010                       1               D

            Andorra                                 26-IV-2017      A*              25-VI-2017                       2               D,Res

            Argentina                               8-V-1987        A*              7-VII-1987                       1               D,Res

            Armenia                                 27-VI-2012      A*              26-VIII-2012                     1               D,Res

            Australia                               23-X-1992       A*              22-XII-1992                      3               D,Res

            Barbados                                5-III-1981      A*              4-V-1981                         1

            Belarus                                 7-VIII-2001     A*              6-X-2001                         2               D,Res

            Bosnia and                              16-VI-2008      A*              15-VIII-2008                     1
            Herzegovina

            Brazil                                  9-IV-2014       A*              8-VI-2014                        1               D,Res

            Bulgaria                                23-XI-1999      A*              22-I-2000                        2               D,Res

            China                                   8-XII-1997      A*              6-II-1998                        4               D,N,Res

            Colombia                                13-I-2012       A*              13-III-2012                      1

            Costa Rica                              16-III-2016     A*              15-V-2016                        1




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                                      1                 2
            Contracting Party   S               R/A/S          Type 3   EIF 4          EXT 5         Auth   6
                                                                                                                   Res/D/N/DC     7



            Croatia                              1-X-2009      A*       30-XI-2009                   1              D,Res

            Cyprus                               13-I-1983     A*       14-III-1983                  3              D,Res

            Czech Republic                      28-VI-1993     Su       1-I-1993                     2              D

            Denmark             18-IV-1972      20-VI-1972     R        7-X-1972                     2              D,Res

            El Salvador                          19-I-2023     A*       20-III-2023                  1              D,Res

            Estonia                              2-II-1996     A*       2-IV-1996                    2              D

            Finland             9-III-1976      7-IV-1976      R        6-VI-1976                    2              D,Res

            France              24-VIII-1972    7-VIII-1974    R        6-X-1974       1             2              D,Res

            Georgia                              31-V-2021     A*       30-VII-2021                  1              D,Res

            Germany             18-III-1970     27-IV-1979     R        26-VI-1979                   2              D,Res

            Greece                  18-I-2005    18-I-2005     R        19-III-2005                  2              D,Res

            Hungary                              13-VII-2004   A*       11-IX-2004                   2              D,Res

            Iceland                              10-XI-2008    A*       9-I-2009                     1              D,Res

            India                                7-II-2007     A*       8-IV-2007                    3              D

            Israel              11-XI-1977      19-VII-1979    R        17-IX-1979                   2              D

            Italy               6-II-1975        22-VI-1982    R        21-VIII-1982                 2              D

            Kazakhstan                           26-IX-2016    A*       25-XI-2016                   2              D,Res

            Kuwait                               8-V-2002      A*       7-VII-2002                   1

            Latvia                               28-III-1995   A*       27-V-1995                    2              D

            Liechtenstein                        12-XI-2008    A*       11-I-2009                    1              D

            Lithuania                            2-VIII-2000   A*       1-X-2000                     2              D,Res

            Luxembourg          2-V-1975        26-VII-1977    R        24-IX-1977                   2              D,Res

            Malta                                24-II-2011    A*       25-IV-2011                   2              Res

            Mexico                               27-VII-1989   A*       25-IX-1989                   1              D,Res

            Monaco                               17-I-1986     A*       18-III-1986                  2              D,Res

            Montenegro                           16-I-2012     A*       16-III-2012                  2              D,Res

            Morocco                              24-III-2011   A*       23-V-2011                    1

            Netherlands                          8-IV-1981     R        7-VI-1981      1             3              D,Res




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HCCH | #20 - Status table                                                   https://www.hcch.net/en/instruments/conventions/status-table/?cid=82
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                                     1                    2
            Contracting Party   S                 R/A/S           Type 3   EIF 4          EXT 5         Auth   6
                                                                                                                      Res/D/N/DC     7



            Nicaragua                              27-II-2019     A*       28-IV-2019                   1              Res,DC

            North Macedonia                       19-III-2009     A*       18-V-2009                                   D

            Norway              18-III-1970       3-VIII-1972     R        7-X-1972                     3              D,Res

            Poland                                 13-II-1996     A*       13-IV-1996                   3              Res

            Portugal            18-III-1970       12-III-1975     R        11-V-1975                    2              D,Res

            Republic of Korea                     14-XII-2009     A*       12-II-2010                   2              D,Res

            Romania                                21-VIII-2003   A*       20-X-2003                    2              D,Res

            Russian                                1-V-2001       A*       30-VI-2001                                  D
            Federation

            Serbia                                 2-VII-2010     A*       31-VIII-2010                 3              D

            Seychelles                             7-I-2004       A*       7-III-2004                   2              D

            Singapore                              27-X-1978      A*       26-XII-1978                  1              D,Res

            Slovakia                               15-III-1993    Su       1-I-1993                     2              D

            Slovenia                               18-IX-2000     A*       17-XI-2000                   1

            South Africa                           8-VII-1997     A*       6-IX-1997                    3              D,Res

            Spain                   21-X-1976      22-V-1987      R        21-VII-1987                  2              D,Res

            Sri Lanka                              31-VIII-2000   A*       30-X-2000                    1              D,Res

            Sweden              21-IV-1975         2-V-1975       R        1-VII-1975                   1              D

            Switzerland         21-V-1985         2-XI-1994       R        1-I-1995                     3              D,Res

            Türkiye             13-XII-2000       13-VIII-2004    R        12-X-2004                    2              D,Res

            Ukraine                                1-II-2001      A*       1-IV-2001                    2              D,Res

            United Kingdom          18-III-1970    16-VII-1976    R        14-IX-1976     8             3              D,N,Res
            of Great Britain
            and Northern
            Ireland

            United States of        27-VII-1970    8-VIII-1972    R        7-X-1972       3             3              D
            America

            Venezuela                              1-XI-1993      A*       31-XII-1993                  1              D,Res
            (Bolivarian
            Republic of)

            Viet Nam                               4-III-2020     A*       3-V-2020                     1              D




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           1) S = Signature
           2) R/A/Su = Rati�cation, Accession or Succession
           3) Type = R: Rati�cation;
               A: Accession;
               A*: Accession giving rise to an acceptance procedure; click on A* for details of acceptances of the accession;
               AEU: Accession by the European Union
               AEU*: State bound as a result of the accession by the European Union
               A**: Objection
               C: Continuation;
               Su: Succession;
               Den: Denunciation;
           4) EIF = Entry into force
           5) EXT = Extensions of application
           6) Authorities per Convention = Designation of Authorities
           7) Res/D/N/DC = Reservations, declarations, noti�cations or depositary communications




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